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RASTERN DISTRICT OF LA
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WILLIAM @. BLcVINS
CLERK

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA E iS LO NY

INDICTMENT FOR VIOLATION
OF THE FEDERAL GUN CONTROL ACT

UNITED STATES OF AMERICA * CRIMINAL NO. 1 9 ~ 0 0 1 ~ 6
SECTION: SECT. S MAG. 3

VIOLATIONS: 18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)

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MICHAEL LEWIS

The Grand Jury charges that:

COUNT 1
(Felon in Possession of a Firearm)

On or about May 11, 2018, in the Eastern District of Louisiana, the defendant, MICHAEL
LEWIS, did possess a firearm and ammunition, to wit: a Smith and Wesson .38 caliber revolver,
serial number 215427 and .38 caliber ammunition, said firearm and ammunition having been
shipped and transported in interstate commerce, after having previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, to wit: a conviction on January 28,
2014, in the 17" Judicial District Court for the State of Louisiana, Parish of Lafourche, under case
number C-384806, for Possession of Cocaine, in violation of LA. R.S. 40:967(c)(2); a conviction

on February 10, 2014, in the 17" Judicial District Court for the State of Louisiana, Parish of

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Lafourche, under case number C-518116, for Possession with Intent to Distribute Cocaine,
Marijuana, and Methylenedioxymethamphetamine, in violation of LA. R.S. 40:966 and La. R.S.
40:967; and a conviction on February 10, 2014, in the 17" Judicial District Court for the State of
Louisiana, Parish of Lafourche, under case number C-521029, for Possession with Intent to
Distribute Cocaine and Marijuana, in violation of LA. R.S. 40:966 and La. R.S. 40:967, and did
so knowingly, all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

NOTICE OF FORFEITURE

1. The allegations of Count 1 are realleged and incorporated by reference as though
set forth fully herein for the purpose of alleging forfeiture to the United States.

Ze As a result of the offense alleged in Count 1, the defendant, MICHAEL LEWIS,
shall forfeit to the United States pursuant to Title 18, United States Code, Section 924(d)(1), and
Title 28, United States Code, Section 2461(c), any firearm or ammunition involved in or used in
the commission of said offense, including but not limited to all firearms and ammunition identified

in the foregoing allegations.

3. If any of the above-described property, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c: has been placed beyond jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty;
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the United States shall, pursuant to Title 21, United States Code, Section 853(p), seek forfeiture of

any other property of the defendant up to the value of the above-described property.

REPERSON

PETER G. STRASSER
UNITED STATES ATTO

MAURICE E. LANDRIEU, JR
Assistant United States Attorney
Bar Roll No. 22104

New Orleans, Louisiana
June 20, 2019
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FORM OBD-34

UNITED STATES DISTRICT COURT
Eastern District of Louisiana
Criminal Division

THE UNITED STATES OF AMERICA

vs.

MICHAEL LEWIS

INDICTMENT FOR VIOLATION OF
THE FEDERAL GUN CONTROL ACT

VIOLATIONS: _Title 18, U.S.C., § 922(g)(1)
Title 18, U.S.C., § 924(a)(2)

CPA MAURICE E

Assistant United States Attorney

